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    8
    9                          UNITED STATES DISTRICT COURT
   10                         CENTRAL DISTRICT OF CALIFORNIA
   11
   12   MITRA ERAMI, MARIA                        Case No.: 2:15-cv-07728-PSG-PLA
        MCGLYNN, BRITTANY SANCHEZ,
   13   individually and on behalf of other       SECOND AMENDED
        members of the general public similarly   COMPLAINT
   14
        situated,                                 [CLASS ACTION]
   15
   16               Plaintiffs,
              vs.                     1. Labor Code §§ 510, 1194
   17                                 2. B&P § 17200 - Overtime
                                      3. B&P § 17200 – Meal and Rest
   18   JPMORGAN CHASE BANK, National Breaks
                                      4. B&P 17200 – Injunction/Dec. Relief
   19   Association,                  5. Labor Code § 203
                                      6. Labor Code § 226, 1174, 1174.5
   20                                 7. Labor Code § 2699 et seq.
                     Defendant.
   21                                 JURY TRIAL DEMANDED

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                                                             SECOND AMENDED COMPLAINT
                                                                     2:15-cv-07728-PSG-PLA
                                                                           [CLASS ACTION]
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    1                              GENERAL ALLEGATIONS
    2         1.     Plaintiff Mitra Erami was an Assistant Branch Manager for defendant
    3   JPMorgan Chase Bank, National Association (“Defendant”) in Alameda County,
    4   California, within the last three years of the filing of the original complaint in this
    5   action.
    6         2.     Plaintiff Maria McGlynn was an Assistant Branch Manager for
    7   Defendant in San Diego County, California, within the last three years of the
    8   filing of the original complaint in this action and within a year from the filing of
    9   this Second Amended Complaint.
   10         3.     Plaintiff Brittany Sanchez was an Assistant Branch Manager for
   11   Defendant in Santa Barbara County and Ventura County, California, within the
   12   last three years of the filing of the original complaint in this action and within a
   13   year of the filing of this Second Amended Complaint.
   14         4.     Defendant Chase Bank is a wholly owned subsidiary of JPMorgan
   15   Chase &Co. Defendant is a bank that owns and operates retail banks in this
   16   judicial district and in the state of California. Defendant has employees with the
   17   title “Assistant Branch Manager.”
   18         5.     Venue is proper in the Central District of California as at least some
   19   of the acts complained of herein occurred in the Central District of California as
   20   Defendant owns and operates banks in the Central District of California. Venue
   21   was established in this judicial district as a result of a motion to transfer due to a
   22   related case then pending in this judicial district.
   23         6.     At all times herein mentioned, Plaintiffs and the class identified
   24   herein worked as employees for Defendant in salaried positions in Defendant’s
   25   branch and retail locations under the business name “Chase.” At all times herein
   26   mentioned, Plaintiffs and the class have been, and continue to be, domiciled in the
   27   state of California.
   28         7.     At all times herein mentioned Defendant is a business entity licensed
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                                                                  SECOND AMENDED COMPLAINT
                                                                          2:15-cv-07728-PSG-PLA
                                                                                [CLASS ACTION]
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    1   to do business and actually doing business in the Central District of California.
    2   Defendant owns and operates an industry, business and establishment in a number
    3   of separate geographic locations within the State of California, including within
    4   the Central District of California, for the purpose of selling banking services and
    5   products. As such, and based upon all the facts and circumstances incident to
    6   Defendant’s business in California, Defendant is subject to California Labor Code
    7   §§ 1194 et seq., California Business and Professions Code § 17200 et seq., (Unfair
    8   Practices Act) and the applicable Industrial Welfare Commission Wage Orders.
    9           8.      Plaintiffs do not know the true names or capacities, whether
   10   individual, partner or corporate, of other possible responsible parties and Plaintiffs
   11   pray leave to amend this complaint when the true names and capacities are known.
   12   Each of the other potentially responsible parties were responsible in some way for
   13   the matters alleged herein and proximately caused Plaintiffs and members of the
   14   class to be subject to the illegal employment practices, wrongs and injuries
   15   complained of herein.
   16                               FACTUAL ALLEGATIONS
   17           9.      Pursuant to California Labor Code §§ 218, 218.6, and 1194, Plaintiffs
   18   may bring a civil action for overtime wages directly against the employer without
   19   first filing a claim with the California Division of Labor Standards Enforcement
   20   and may recover such wages, together with interest thereon, penalties, attorney
   21   fees and costs.
   22           10.     Plaintiffs and all members of the class identified herein were
   23   regularly scheduled as a matter of uniform company policy to work and in fact
   24   worked as salaried bank employees in excess of eight hours per workday and/or in
   25   excess of forty hours per workweek without receiving straight time or overtime
   26   compensation for such overtime hours worked in violation of California Labor
   27   Code §§ 510, 1194 and California Industrial Welfare Commission Wage Order 4-
   28   2001.        Defendant has failed to meet the requirements for establishing the
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                                                                 SECOND AMENDED COMPLAINT
                                                                         2:15-cv-07728-PSG-PLA
                                                                               [CLASS ACTION]
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    1   exemption because all class members (a) regularly spent more than 50% of their
    2   time performing nonexempt work, (b) did not customarily and regularly exercise
    3   discretion and independent judgment on matters of significance, (c) did not have
    4   the authority to hire or fire or make meaningful recommendations regarding same,
    5   (d) did not customarily and regularly supervise at least two employees or the
    6   equivalent, (e) did not perform work directly related to the management policies
    7   or the general business operations of Defendant or Defendant’s customers, (f) did
    8   perform nonexempt production and/or sales work a majority of their time (i.e., in
    9   excess of 50%) consistent with Defendant’s realistic expectations, (g) did not
   10   customarily and regularly spend more than 50% of their time away from the
   11   Defendant’s places of business selling or obtaining orders or contracts, and (h) did
   12   not earn more than 50% of their compensation in a bona fide commission plan.
   13   Thus, Plaintiffs and the class members were not exempt from the overtime
   14   requirements of California law for these reasons.
   15                                CLASS ALLEGATIONS
   16         11.     This complaint is brought by Plaintiffs pursuant to Federal Rule of
   17   Civil Procedure 23 and California Code of Civil Procedure § 382 on behalf of a
   18   class. All claims alleged herein arise under California law for which Plaintiffs
   19   seek relief authorized under California law.        The class is comprised of, and
   20   defined as:
   21                 All current and former California based employees of
                      JPMorgan Chase Bank, National Association, with the
   22
                      title “Assistant Branch Manager” who worked at any
   23                 time from February 25, 2011 up to the time of trial.
   24         12.     The members of the classes are so numerous that joinder of all
   25   members is impracticable. The exact number of the members of the classes can
   26   be determined by reviewing Defendant’s records.
   27         13.     Plaintiffs will fairly and adequately protect the interests of the class
   28   and have retained counsel that is experienced and competent in class action and
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                                                                 SECOND AMENDED COMPLAINT
                                                                         2:15-cv-07728-PSG-PLA
                                                                               [CLASS ACTION]
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    1   employment litigation. Plaintiff has no interests that are contrary to, or in conflict
    2   with, members of the class.
    3         14.    A class action suit, such as the instant one, is superior to other
    4   available means for fair and efficient adjudication of this lawsuit. The damages
    5   suffered by individual members of the class may be relatively small when
    6   compared to the expense and burden of litigation, making it virtually impossible
    7   for members of the class to individually seek redress for the wrongs done to them.
    8         15.    A class action is, therefore, superior to other available methods for
    9   the fair and efficient adjudication of the controversy. Absent these actions, the
   10   members of the class likely will not obtain redress of their injuries and Defendant
   11   will retain the proceeds of its violations of California law.
   12         16.    Even if any member of the class could afford individual litigation
   13   against Defendant, it would be unduly burdensome to the judicial system.
   14   Concentrating this litigation in one forum will promote judicial economy and
   15   parity among the claims of individual members of the class and provide for
   16   judicial consistency.
   17         17.    There is a well-defined community of interest in the questions of law
   18   and fact affecting the Class as a whole. Questions of law and fact common to
   19   each of the class predominate over any questions affecting solely individual
   20   members of the action. Among the common questions of law and fact are:
   21                a.     Whether the class has been properly classified as exempt by
   22   Defendant from overtime compensation;
   23                b.     Whether the class is expected to regularly work hours in excess
   24   of forty per week and/or in excess of eight hours per day;
   25                c.     How the class is compensated; and,
   26                d.     Whether the class has sustained damages and, if so, what the
   27   proper measure of damages is.
   28
                                                   4
                                                                  SECOND AMENDED COMPLAINT
                                                                          2:15-cv-07728-PSG-PLA
                                                                                [CLASS ACTION]
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    1                             FIRST CAUSE OF ACTION
    2                               (Labor Code §§ 510, 1194)
    3           18.   Plaintiffs incorporate the allegations contained in the previous
    4   paragraphs of this Complaint as if fully set forth herein.
    5           19.   California Wage Order 4-2001, 8 C.C.R. § 11040, and Labor Code §
    6   510 state that an employee must be paid overtime, equal to 1.5 times the
    7   employee’s regular rate of pay, for all hours worked in excess of 40 per week
    8   and/or 8 per day.
    9           20.   Class members regularly work more than 40 hours per week and/or 8
   10   hours per day but are not paid overtime.
   11           21.   Class members do not meet any of the tests for exempt status under
   12   the California Wage Orders and/or the California Labor Code.
   13           22.   Plaintiffs and the class seek their unpaid overtime wages including
   14   interest thereon and reasonable attorneys’ fees and costs pursuant to Labor Code §
   15   1194.
   16                            SECOND CAUSE OF ACTION
   17                       (Bus. & Prof. Code § 17203 – Overtime)
   18           23.   Plaintiffs incorporate the allegations contained in the previous
   19   paragraphs of this Complaint as if fully set forth herein.
   20           24.   Defendant has committed an act of unfair competition under
   21   California Business & Professions Code § 17200 et seq. by not paying the
   22   required state law overtime pay to the members of the class.
   23           25.   Pursuant to Bus. & Prof. Code § 17203, Plaintiffs request an order
   24   requiring Defendant to make restitution of all overtime wages due to the class.
   25                             THIRD CAUSE OF ACTION
   26                 (Bus. & Prof. Code § 17203 – Meal and Rest Breaks)
   27           26.   Plaintiffs incorporate the allegations contained in the previous
   28   paragraphs of this Complaint as if fully set forth herein.
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                                                                 SECOND AMENDED COMPLAINT
                                                                         2:15-cv-07728-PSG-PLA
                                                                               [CLASS ACTION]
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    1         27.    In violation of Labor Code § 512 and IWC Wage Order 4-2001,
    2   Defendant failed to provide and document meal and rest period breaks for the
    3   class in the number, length and manner as required. At no time have the Plaintiffs
    4   or the class entered into any written agreement with Defendant expressly or
    5   impliedly waiving their right to their meal and rest breaks. Plaintiffs and the class
    6   have been injured by Defendant’s failure to comply with Labor Code § 512 and
    7   IWC Wage Order 4-2001 and are thus entitled to the wages set forth in Labor
    8   Code § 226.7 and IWC Wage Order 4-2001 §§ 11 and 12.
    9         28.    Pursuant to Bus. & Prof. Code § 17203, Plaintiffs request Defendant
   10   make restitution of all wages due to the class under this Third Cause of Action.
   11                            FOURTH CAUSE OF ACTION
   12          (Bus. & Prof. Code § 17203 – Injunction and Declaratory Relief)
   13         29.    Plaintiffs incorporate the allegations contained in the previous
   14   paragraphs of this Complaint as if fully set forth herein.
   15         30.    Plaintiffs, and all persons similarly situated, are further entitled to
   16   and do seek a both a declaration that the above-described business practices are
   17   unfair, unlawful and/or fraudulent and injunctive relief restraining Defendant from
   18   engaging in any of such business practices in the future. Such misconduct by
   19   Defendant, unless and until enjoined and restrained by order of this Court, will
   20   cause great and irreparable injury to all members of the class in that the Defendant
   21   will continue to violate California law, represented by labor statutes and IWC
   22   Wage Orders, unless specifically ordered to comply with same. This expectation
   23   of future violations will require current and future employees to repeatedly and
   24   continuously seek legal redress in order to gain compensation to which they are
   25   entitled under California law. Plaintiffs have no other adequate remedy at law to
   26   insure future compliance with the California labor laws and wage orders alleged to
   27   have been violated herein.
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                                                                 SECOND AMENDED COMPLAINT
                                                                         2:15-cv-07728-PSG-PLA
                                                                               [CLASS ACTION]
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    1                             FIFTH CAUSE OF ACTION
    2                                   (Labor Code § 203)
    3         31.    Plaintiffs incorporate the allegations contained in the previous
    4   paragraphs of this Complaint as if fully set forth herein.
    5         32.    Plaintiffs and the class were discharged by Defendant or voluntarily
    6   quit, and did not have a written contract for employment. The Defendant, in
    7   violation of California Labor Code §§ 201 and 202 et seq. had a consistent and
    8   uniform policy, practice and procedure of willfully failing to pay the earned and
    9   unpaid wages of all such former employees. The Defendant has willfully failed to
   10   pay the earned and unpaid wages of such individuals, including, but not limited to,
   11   straight time, overtime, vacation time, meal and rest wages, and other wages
   12   earned and remaining uncompensated according to amendment or proof.
   13   Plaintiffs and the class did not secret or absent themselves from Defendant nor
   14   refuse to accept the earned and unpaid wages from Defendant. Accordingly,
   15   Defendant is liable for waiting time penalties for the unpaid wages pursuant to
   16   California Labor Code § 203.
   17                             SIXTH CAUSE OF ACTION
   18                        (Labor Code §§ 226, 1174, and 1174.5)
   19         33.    Plaintiffs incorporate the allegations contained in the previous
   20   paragraphs of this Complaint as if fully set forth herein.
   21         34.    Defendant, as a matter of corporate policy did not maintain or
   22   provide accurate itemized statements in violation of Labor Code §§ 226 and 1174.
   23         35.    For instance, Defendant did not state or did not accurately state, inter
   24   alia, the total hours worked, hours worked daily, or the actual hourly rate of
   25   Plaintiffs and other Assistant Branch Managers in their pay statements.
   26   Defendant’s failure to maintain accurate itemized statements was willful,
   27   knowing, intentional, and the result of Defendant’s custom, habit, pattern and
   28   practice. Defendant’s failure to maintain accurate itemized statements was not the
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                                                                 SECOND AMENDED COMPLAINT
                                                                         2:15-cv-07728-PSG-PLA
                                                                               [CLASS ACTION]
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    1   result of isolated, sporadic or unintentional behavior. Due to Defendant’s failure
    2   to comply with the requirements of Labor Code §§ 226 and 1174, Plaintiffs and
    3   other Assistant Branch Managers were injured thereby.
    4         36.      Such a pattern and practice as alleged herein is unlawful and creates
    5   an entitlement to recovery by Plaintiffs and the class identified herein for all
    6   damages and penalties pursuant to Labor Code §§ 226 and 1174.5, including
    7   interest thereon, penalties, attorneys’ fees and costs.
    8                             SEVENTH CAUSE OF ACTION
    9                                (Labor Code § 2699 et seq.)
   10         37.      Plaintiffs incorporate the allegations contained in the previous
   11   paragraphs of this Complaint as if fully set forth herein.
   12         38.      As alleged above, Defendant failed to comply with the California
   13   Labor Code. As such, Plaintiffs are “aggrieved employees” as defined in Labor
   14   Code § 2699(a).        Pursuant to Labor Code § 2699, the Labor Code Private
   15   Attorneys General Act of 2004, Plaintiffs bring this action on behalf of themselves
   16   and other current and former Assistant Branch Managers against JP Morgan
   17   Chase Bank, National Association and seeks recovery of applicable civil penalties
   18   as follows:
   19               a. where civil penalties are specifically provided in the Labor Code for
                    each of the violations alleged herein, Plaintiffs seek recovery of such
   20
                    penalties;
   21
                    b. where civil penalties are not established in the Labor Code for each
   22
                    of the violations alleged herein, Plaintiffs seek recovery of the penalties
   23               established in § 2699(e) of the Labor Code Private Attorneys General
                    Act of 2004, and in accordance with § 200.5 of the Labor Code.
   24
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              39.      On February 26, 2015, Plaintiff Erami caused to be served written
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        notice via certified mail to the Labor and Workforce Development Agency and to
   27
        Defendant JP Morgan Chase Bank, National Association of Plaintiff’s intent to
   28
        amend the complaint to add a cause of action pursuant to Labor Code § 2699 et
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                                                                  SECOND AMENDED COMPLAINT
                                                                          2:15-cv-07728-PSG-PLA
                                                                                [CLASS ACTION]
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     1   seq. Included with the notice was the original complaint. Plaintiff did not receive
     2   a response from the LWDA of Plaintiff’s certified letter within the time proscribed
     3   by Labor Code § 2699.3.
     4          40.   On February 1, 2016, Plaintiffs McGlynn and Sanchez caused to be
     5   served written notice via certified mail to the Labor and Workforce Development
     6   Agency and to Defendant JP Morgan Chase Bank, National Association of
     7   Plaintiffs’ intent to amend the complaint to add additional named plaintiffs
     8   seeking relief pursuant to Labor Code § 2699 et seq. Included with the notice was
     9   the proposed Second Amended Complaint. Plaintiffs did not receive a response
    10   from the LWDA of Plaintiffs’ certified letter within the time prescribed by Labor
    11   Code § 2699.3.
    12                                PRAYER FOR RELIEF
    13          WHEREFORE, Plaintiffs, on their own behalf and on behalf of the
    14   members of the class, pray for judgment as follows:
    15          1.    For an order certifying the proposed class;
    16          2.    For damages, penalties, restitution, attorney fees and injunctive relief;
    17   and,
    18          3.    For prejudgment interest.
    19
    20   Dated: March 7, 2016                     WYNNE LAW FIRM
    21
    22
                                                  By:       /s/Edward J. Wynne
    23                                                  Edward J. Wynne
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                                                        Facsimile: 415-461-3900
    26
                                                        Counsel for Plaintiffs
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                                                                    SECOND AMENDED COMPLAINT
                                                                            2:15-cv-07728-PSG-PLA
                                                                                  [CLASS ACTION]
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     1                                   JURY DEMAND
     2        Plaintiffs hereby request a jury trial on all issues so triable.
     3
     4   Dated: March 7, 2016                    WYNNE LAW FIRM
     5
                                                 By:        /s/Edward J. Wynne
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                                                        Counsel for Plaintiffs
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                                                                   SECOND AMENDED COMPLAINT
                                                                           2:15-cv-07728-PSG-PLA
                                                                                 [CLASS ACTION]
